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 1   DONALD H. HELLER, SBN 55717
     DONALD H. HELLER
 2   A Law Corporation
 3   701 University Avenue, Suite 100
     Sacramento, CA 95825
 4   Telephone: (916) 974-3500
     Facsimile:    (916) 520-3497
 5
 6   Attorneys for Defendant
     STEVEN MARCUS
 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA              )                Case No. No. 2:12-CR-00309-JAM
11                                         )
           Plaintiff,                      )
12
                                           )                WAIVER OF PRESENCE
13                                         )                PURSUANT TO RULE 43 OF THE
           vs.                             )                FED. RULES OF CRIMINAL
14                                         )                PROCEDURE
     STEVEN MARCUS, et.al.                 )
15
                                           )
16         Defendants.                     )
     _____________________________________ )
17
18
            Pursuant to Federal Rules of Criminal Procedure, Rule 43, defendant STEVE MARCUS,
19
     herby waives the right to be present in person in open court upon the hearing of any motion or
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     other proceeding in this case, including, but not limited to, when the case is set for trial, when a
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     continuance is ordered, and when any other action is taken by the Court before or after trial,
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     except upon arraignment, initial appearance, trial confirmation hearing, entry of plea, and every
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     stage of trial including verdict, empanelment of jury and imposition of sentence. Defendant
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     hereby requests the Court to proceed during every absence of his which the Court may permit
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     pursuant to this waiver and agrees that his interests will be deemed represented at all times by the
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     presence of his attorney, the same as if the defendant were personally present. Defendant further
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     agrees to be present in Court ready for trial any day and hour the Court may fix in his absence.
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            The defendant further acknowledges that he has been informed of his rights under

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     WAIVER OF PHYSICAL PRESENCE                                           Case No. No. 2:12-CR-00309-JAM
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 1   Title 18 U.S.C. §§ 3161-3174 (The Speedy Trial Act) and authorizes his attorney to schedule
 2   dates and consent to the exclusion of time pursuant to said Act without her personal appearance.
 3
 4   Dated: November 5, 2012                              /s/ STEVEN MARCUS
                                                           STEVEN MARCUS
 5
 6                          I certify that I have a duly signed and executed copy of this Waiver

 7   signed by Defendant STEVE MARCUS, in accordance with this District’s Local Rules.
 8
 9   Dated: November 5, 2012                              /s/ Donald H. Heller
                                                          DONALD H. HELLER, ESQ.
10                                                        Attorney for Defendant
11                                                        STEVEN MARCUS

12
13                                               ORDER
14          GOOD CAUSE APPEARING, Defendant STEVE MARCUS, waiver of personal
15   appearance is hereby accepted by the Court. IT IS SO ORDERED.
16   Dated: 11/5/2012
                                                          /s/ John A. Mendez_______________
17                                                        JOHN A. MENDEZ
18                                                        United States District Judge

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     WAIVER OF PHYSICAL PRESENCE                                        Case No. No. 2:12-CR-00309-JAM
